                 Case 1:21-cr-00430-RA Document 66
                                                67 Filed 06/21/23
                                                         06/26/23 Page 1 of 2


JeNsrN Law Orrrcr
CRIM:NAL IDEFENSE ATTC)RNEY

                                                                                         ●,● ● ヽ 0● ●● ●●0^OW^Y

                                                                                  SANTA ANA.CALIF()RN:A02706
                                                                                       ●●●●● ●0ヽ            ￨●   ,o,,― ,,oo
                                                                                                      ̀̀′
                                                                                        ´     ● ,■   ￨ヽ           ,o,● ■● ,,
                                                                                         ^●               ̀̀,,●


                                                   [une22,2023

                                                                 Application granted. No further extensions shall be
         By ECF                                                  granted absent good cause.
         Hon. Ronnie Abrams
         United States District Court                            SO ORDERED.
         Southern District of New York
         40 Foley Square                                         _________________________
         New York, New York 10007                                Ronnie Abrams, U.S.D.J.
                                                                 June 26, 2023

                              Re:   United $tates v. NiloufalE4h3dsdlet 21 CR 430 (RA)

         Dear ]udge Abrams:

               This letter is a request to delay the surrender date for defendant
         Niloufar Bahadorifar. She is currently scheduled to surrender on laly 7,2023 to
         the Federal Correctional Institution in Dubli+ California. Defendant is
         currently undergoing diagnosis and treatment for several medical conditions.
         We are requesting to extend the date of surrender to October 13, 2023.

               In order to preserve privacy, I will email the medical records to the court
         and the Government. A summary follows:

               Ms. Bahadorifar saw Dr. Amini in late May of this year with several
         physical complaints. An MRI and an echocardiogram were performed. A
         second report from Dr. Amini on ]une 75,2023 details all that needs to be
         accomplished in order to care for Ms, Bahadorifar. Her maladies are as follows:

                Heart-The echocardiogram revealed a mitral valve prolapse and aortic
         valve abnormalities. Due to a history of heart disease in the family, Dr, Amini
         requests a second echocardiogram as well as a stress test,

                Bleeding-Ms. Bahadorifar suffers from excessive internal and vaginal
         bleeding. Ms. Bahadorifar is waiting to see a gynecologist. Dr. Amini opines
         she may need to have her uterus removed due to fibroma in the uterus. In
         addition, the doctor said she needs an upper and lower endoscopy.

               Anemia-Due to the bleeding, Ms. Bahadorifar suffers from severe
         anemia. The doctor prescribed iron injections to combat this.
      Case 1:21-cr-00430-RA Document 67
                                     66 Filed 06/26/23
                                              06/21/23 Page 2 of 2




      Kidney-The doctor also found    a   ryst on her kidney   as   well   as   kidney
stones.

        Ms. Bahadorifar is currently bed ridden. She has little energy due to the
blood loss and heart issues. She is taking prescribed medications for her heart,
is taking pain medications and an antibiotic. She is navigating her way
through her HMO and doing her best to diagnose and treat her various
ailments. Therefore, we respectfully request the court extend her surrender
date to October 73,2023.




                                   Respectf     ully submitted,

                                            (

                                   CHRISTIAN R. JENSEN
